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UNITED STATF,S b1STRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       Case No.. 1 :19-CV-09506-JMF
HAO 7HE WANG,
                                                       llECLARATION OF RAY-KELLE
                Plaintiff;
                                                       PRESTON REGARDING STATUS QF
       vs.                                             DEFENDANTS NAMED IN PLAINTIFF
                                                       HAO ZHE WANG'S AMENDED
 VERTZON COMMUNICATIONS INC., et al.                   COMPLAINT

                Defendants.                            Hon. Judge Jesse M.Furman
                                                       Compl, Filed: October l 5, 2019



       I,Ray-Kelle Preston, hereby declare as follows:

               I am over the age of 18 and am competent to testify to the facts declared below,

and could testify truthfully thereto if required. I am currently employed by Verizon Corporate

Resources Group L,LC as a Senior Analyst and Custodian of Record. I have held this position

since 2019. In my capacity as a Senior Analyst and Custodian of Record, I provide services

to and an behalf of Verizon New England Inc.("VNE")and various other "Veriaon" entities,

particularly in relation to the handling of consumer disputes for Verizon, among other things.

       2.      In preparing this Declaration, I have relied on my personal knowledge af, and

experience in, the business operations of VNE,as well as a review of VNE's business records.

VNE's business records are made in the regular course of business, at or near the time of the

acts, conditions or events described in the documents, and by or from information provided by a

person with knowledge of the act, conditions or events. I have reviewed the list of defendants

named by Plaintiff in the First Amended Complaint("FAC"), and have reviewed the records for

the VNF wireline service account referenced in the FAC (the "Subject Account"),

       3•      The Subject Account was exclusively established, owned, operated, find

managed by V1J E,



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        4.      VN~ is a regulated public utility which provides telecommunications services to

 residential -and business customers in the State of Massachusetts.

        5.      None of the remaining defendant entities identified by Plaintiff in the Amended

 Complaint [Dkt, No. 78] established, owned, operated, or managed the Subject Account.

       6.      The following entities do not exist, and did i~ot establish, own, operate, pr

 manage the Subject Accou~it.

               i."Verizon Media LI,C" hAs never existed;
               ii. "Verizon Wireless Business Services, LLC" has never existed;
               iii. Verizon Wireless(VAV1~ LLC ceased to exist upon merger with Cellco
              Partnership on or about Dece►nber 31, 2019;
              iv. Verizon Teleproducts Corp. ceased to exist upon merger with Verizon
              Connected Solutions in 2019; and
              v. Verizon Services Operations Inc. ceased to exist upon merger with
              Verizon Connected Solutions in October 2014.
       7.     The following entities exist, but did not establish, own, operate, or manage the

Subject Account.

              i. Verizon Comnnunications Inc.;
              ii. Verizon Long Distance LLC;
              iii. Verizon Services Corp.;
             iv. Verizon Wireless Services, LLC;
             v. Verizon Business Netrvowk Services Inc.;
             vi. Verixon Capital Corp.;
             vii. Verizon Connected Solutions Ync.;
             viii. Verizon Corporate Resources Group LLC;
             ix. Verizon Corporate Scrviees Group Inc.;
             x. Verizon Federal Inc.;
             xi. Verizon Sourcing LLC;
             xii. Verizon Services Organization Inca;




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                           xiii. Verizon Business Pui•chasi►ag LLC;
                           Yiv. Vex•izon Turnkey Services LLC;
                          xv. Verizon Select Ser~~ices I~ac.;
                          xvi. Veriro~a Online LLC;
                           vii. Verizon Connect Ix~c.;
                          xviii. Verizon Connect NWF Inc.;
                          xix. Ve~•izon Credit Inc.;
                          xa. Verizon Digital Media Services lnc.;
                         ~xi. Verizon Infoi•rnation Technologies LLC; and
                         xxii. Verizon New York Inc.
                 I declare under penalty of perjury under the laws of the United States that the foregoing

         is true and correct.

                 Executed on March 6, 2020 at Piscataway, New Jersey




                                                                          Ray-Kelle Preston




'On the page captioned "Attachment to Complaint" (ECG No, 78 at p. 8), Plaintiff identifies "Verizon
Services Organization Inc.," but on a later page (ECF Na. ?8 at p. 10), Plaintiff Instead identifies "Verizon
Services Operations Inc." far Defendant No, 16. These were in fact two separate entities until Verizon
5ervic~es Operations Mc. ceased to exist by merger in October 2fl14,



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